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                      EXHIBIT 77
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                                In the Matter Of:

                                     HENRY v
                               BROWN UNIVERSITY




                            STUART SCHMILL
                                  June 05, 2024
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·1· ·an incident involving Mr. Millard in the

·2· ·late 2000s?

·3· · · ·A.· · The late 2000s?

·4· · · ·Q.· · 2018, 2016 to 2018?

·5· · · · · · ·MR. RYBNICEK:· Object to the

·6· · · ·form.

·7· · · ·A.· · Yeah.· I mean, when you say

·8· ·incident, I mean I can see what I've

·9· ·written here, but...

10· · · ·Q.· · Okay.· Let's finish with this

11· ·document.· So you wrote there are six names

12· ·on that list that Bob recommended.· Three

13· ·we admitted and one we were going to, but

14· ·the student withdrew after getting admitted

15· ·Early Decision elsewhere.· Of those four,

16· ·they were all good academically.· Two are

17· ·very strong in all dimensions, as good as

18· ·any of our admits, and two are students

19· ·that we would really not have otherwise

20· ·admitted.

21· · · · · · ·Did you write that?

22· · · ·A.· · It looks like I did write that,

23· ·yes.

24· · · ·Q.· · Okay.· So there are two students,

25· ·in your own words, that you would not have


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·1· ·admitted but for Mr. Millard's

·2· ·recommendation, right?

·3· · · ·A.· · Yes.

·4· · · ·Q.· · Okay.· So there are instances

·5· ·where that might occur, right, that has

·6· ·occurred?

·7· · · · · · ·MR. RYBNICEK:· Objection to form.

·8· · · ·A.· · These were really the only two

·9· ·cases that we would have admitted someone

10· ·because the chairman of the corporation had

11· ·indicated his interest in that happening.

12· · · ·Q.· · Okay.· Let's look at the rest of

13· ·the e-mail.

14· · · · · · ·The next paragraph says:· He sent me

15· ·notes on all of them, but he was very careful

16· ·in his e-mails to say that I had autonomy and

17· ·he made it clear to others that he could not

18· ·influence things.

19· · · · · · ·Do you see that?

20· · · ·A.· · I do.

21· · · ·Q.· · Okay.· So you had discussions

22· ·with Mr. Millard?

23· · · ·A.· · Yes, I did have a discussion with

24· ·him about the candidates.

25· · · ·Q.· · Okay.· You only had one


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·1· ·to talk about candidates, which is also where

·2· ·I got more insight as to who he thought was a

·3· ·priority.· All that said, I still hope we can

·4· ·be careful about doing this in a way that

·5· ·doesn't implicate my discussing his influence.

·6· · · · · · ·What does that mean?

·7· · · ·A.· · Well, so in the meeting that I

·8· ·had with Bob, he -- and I don't remember

·9· ·the exact form that this took -- but he

10· ·indicated his interest to me in these two

11· ·candidates in particular being admitted.

12· ·Those are the two candidates that I was

13· ·referencing that I said that they would not

14· ·have otherwise been admitted if not for his

15· ·interest.

16· · · · · · ·And so, you know, that -- because

17· ·that was contrary to our policies and

18· ·contrary to the practices that we had long

19· ·followed and still follow now, because it

20· ·was contrary to those, I was uncomfortable

21· ·with that, which is why I talked with Ian

22· ·about it and I, you know, didn't -- I

23· ·thought it was not -- again, it was

24· ·contrary to what our practice has been and

25· ·had been.


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